Case 2:05-cV-02454-.]PI\/|-de Document 5 Filed 08/01/05 Page 1 of 2 Page|D 1

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IN THE uNITEo sTATEs nIsTRIcT couRT
FoR THE wEsTERN DISTRICT oF TENNESSEE OSAUG-| PH S:Uh

WESTERN DIVISION
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JOHN E. SHELTON¢
Plaintiff,

v. Nb. 05-2454 Ml/V
SHELBY COUNTY GOVERNMENT,
SHELBY COUNTY SHERIFF'S
DEPARTMENT, and CHIEF JAIL
ADMINISTRATOR OF SHELBY COUNTY
JAILlr

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Defendants.

 

ORDER GRANTING PLAINTIFF'S MDTION TO DEEM COMPLAINT FILED ON
NOVEMBER 221 2004
AND
ORDER OF DISMISSAL

 

Before the Court is Plaintiff’s Motion to Deem Complaint filed
on November 22, 2004, filed June 24, 2005. Good cause having been
shown, the Court GRANTS the motion. The Clerk is accordingly
directed to docket the case as No. 05-2454. On July 21, 2005,
Plaintiff, pursuant to Federal Rule of Civil Procedure 4l(a), filed
a stipulation dismissing the claims against all Defendants in this
action with prejudice. Accordingly, pursuant to the July Zl, 2005,

stipulation of dismissal, this case is DISMISSED.

IT IS SO ORDERED this [ day of August, 2005.

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§ JON P. MécALLA
' UN ED sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02454 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Carol J. Chumney
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

